 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 EVERLAST SOLUTIONS CORP.,
                                                                      .
                               Plaintiff,
                                                                          CIVIL ACTION NO.
                     -against-
                                                                          COMPLAINT
 STATE FARM FIRE AND CASUALTY                                             FOR DECLARATORY
 COMPANY,                                                                 JUDGMENT

                                Defendant.
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         Plaintiff EVERLAST SOLUTIONS CORP. (“Everlast” or “Plaintiff”), by and through its

attorneys, WILSON & CHAN, LLP, as and for its Complaint for Declaratory Judgment against

defendant STATE FARM FIRE AND CASUALTY COMPANY (“State Farm” or “Defendant”)

alleges as follows:

                                                   NATURE OF THE CASE

     1. This is an action for declaratory judgment pursuant to 28 U.S.C. §2201, in which Everlast

seeks declaratory, monetary, and ancillary relief against Defendant relating to insurance coverage

for Plaintiff regarding and underlying personal injury lawsuit captioned Christian Alfredo Orellana

Sarango v. Astor 2, LLC et al, Supreme Court of the State of New York, Queens County, Index

No. 713975/2023 (the “Underlying Suit”). A copy of the Summons and Complaint in the

Underlying Suit is annexed hereto as Exhibit A.

     2. Plaintiff seeks declaratory judgment declaring, inter alia, that (1) State Farm must provide

insurance coverage to Plaintiff in the Underlying Suit under the commercial general liability

insurance policy issued by State Farm to L.E.S. GENERAL CONSTRUCTION INC. (“L.E.S.”)

and the Certificate of Liability Insurance that added Plaintiff to L.E.S.’s insurance policy for a

project located at 11-02 37th Avenue, Long Island City, New York 11101 (“Certificate”); and (2)

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State Farm must reimburse Plaintiff for defense attorneys’ fees, costs and disbursements incurred

by Plaintiff to date in the Underlying Suit.

                                               PARTIES

    3. Everlast is a domestic business corporation duly organized and existing under and by virtue

of the laws of the State of New York with its principal place of business located at 554 Fairview

Avenue, Ridgewood, New York 11385-1946.

    4. State Farm is an insurance company registered to conduct business in the State of New

York with its principal place of business located at One State Farm Plaza, Bloomington, Illinois

61710.

                                 JURISDICTION AND VENUE

    5. This Court has original jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §1332(a)(1) based on complete diversity of citizenship because this action arises between

citizens of different states and meets the jurisdictional requirement for the amount in controversy.

    6. This Court has subject matter jurisdiction to hear this case pursuant to 28 U.S.C. §2201(a)

to declare the rights and other legal relations of Everlast and State Farm.

    7. The amount in controversy exceeds $75,000.00, exclusive of interest and costs.

    8. Venue in this District is proper under §1391(b)(2) because a substantial part of the events

or omissions giving rise to the claim occurred in this District.

                                  FACTUAL BACKGROUND

   A. The Agreement between L.E.S. General Construction Inc. and Everlast

    9. L.E.S., a subcontractor, and Everlast, general contractor, entered into an agreement (the

“Subcontract”) under which L.E.S. would provide and perform construction work at the premises

located at 11-02 37th Avenue, Long Island City, New York 11101 (the “Premises”).



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    10.        Under this agreement, L.E.S. agreed to defend and indemnify, through contractual

indemnification and/or common-law indemnification, Everlast against any and all claims arising

from, or related to, operations of L.E.S. or its subcontractors in the performance of the Subcontract.

    11.        In this regard, Everlast was added to L.E.S.’s insurance policy as an additional

insured. See Certificate of Liability Insurance attached hereto as Exhibit B.

    12.        The Subcontract was in full force and effect on June 16, 2023, which is the date of

the accident of the Underlying Suit.

   B. The State Farm Insurance Policy

    13.        Upon information and belief, State Farm insured L.E.S. under policy number 92-

EA-B069-4, effective from May 10, 2023 to May 10, 2024, with limits of liability of $1 million

each occurrence/$2 million general aggregate (the “Insurance Policy”). See Exhibit B.

    14.        The Insurance Policy was in effect on the date of the accident.

    15.        The Certificate of Insurance dated July 25, 2023, identified Everlast as an additional

insured the Insurance Policy in connection with the construction project on the Premises. See

Exhibit A.

    16.        Upon information and belief, the Insurance Police contains an endorsement which

provides additional insured coverage to Everlast with respect to liability from, or related to,

operations of L.E.S. or its subcontractors in the performance of the Subcontract.

    17.        Everlast’s purported liability in the Underlying Suit arises out of L.E.S.’s work on

the Premises as L.E.S. directed, controlled, and supervised the injured party in the Underlying Suit.

    18.        Everlast qualified as an additional insured under the Insurance Policy with respect

to the Underlying Suit.




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   C. The Accident and the Underlying Suit

    19.        The Underlying Suit alleges that on June 16, 2023, Mr. Christian Alfredo Orellana

Sarango (“Sarango”) alleges that he was injured at a construction site located at 11-02 37 th Street

Avenue, Queens, New York.

    20.        Sarango was allegedly employed by L.E.S. and was performing work within the

course and scope of his employment with L.E.S. on the Premises on June 16, 2023.

    21.        Sarango allegedly sustained injuries on June 16, 2023 at the Premises, while

performing work during the course and scope of his employment for L.E.S. when he fell due to

being struck by unsecured falling object(s). As a result, Sarango was allegedly severely injured.

    22.        Sarango filed the Underlying Suit against Everlast, Astor 2, LLC, and Dio Long

LCC, the latter two being the owners of the Premises. Sarango filed said lawsuit for damages

regarding the injuries he alleged sustained as a result of the subject accident.

   D. Everlast’s Request to State Farm to Provide Defense and Insurance Coverage in
      Regard to the Underlying Suit and State Farm’s Rejection

    23.        On July 27, 2023, Everlast, by and through its attorneys, Wilson & Chan, LLP,

requested that State Farm acknowledge its obligation to provide defense and insurance coverage

to Everlast in regard to the Underlying Suit. See Letter to State Farm dated July 27, 2023 attached

hereto as Exhibit C.

    24.        State Farm has refused to assume the defense of Everlast in the Underlying Suit.

    25.        An actual controversy exists between and among the parties as to their rights and

obligations to Everlast in the Underlying Suit under the Insurance Policy.

    26.        Circumstances exist that justify a determination by this Court, pursuant to 28 U.S.C.

§2201, of the rights and obligations of the parties under the Insurance Policy, and that the

determination will be beneficial for both parties.

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    27.         Everlast has no adequate remedy at law.

                        AS AND FOR A FIRST CAUSE OF ACTION
                (Declaration of Duty to Defend under State Farm Insurance Policy)

    28.         Plaintiff repeats and re-alleges all of the allegations set forth in Paragraphs 1

through 27 of this Complaint for Declaratory Judgment as if set forth fully here.

    29.         There is an actual and present controversy between Everlast and State Farm

concerning State Farm’s obligation to defend Everlast as an additional insured under the Insurance

Policy in the Underlying Suit.

    30.         State Farm’s refusal to provide defense and insurance coverage under its Insurance

Policy was wrongful. Everlast qualifies as an additional insured under the Insurance Policy in the

Underlying Suit. Furthermore, Sarango’s alleged injuries and damages arose out L.E.S.’s work at

the Premises.

    31.         Everlast is an additional insured under the Insurance Policy.

    32.         Everlast is entitled to a declaration that State Farm must defend Everlast in the

Underlying Suit under the Insurance Policy.

    33.         A judicial declaration of this issue is necessary and appropriate at this time to permit

Everlast to determine State Farm’s legal obligations to Everlast.

                      AS AND FOR A SECOND CAUSE OF ACTION
    (Declaration of Duty to Reimburse Everlast for its Defense Costs Through the Date of the
                             Declaration of Rights in this Lawsuit)

    34.         Plaintiff repeats and re-alleges all of the allegations set forth in Paragraphs 1

through 33 of this Complaint for Declaratory Judgment as if set forth fully here.

    35.         There is an actual and present controversy between Everlast and State Farm

concerning State Farm’s obligations to reimburse Everlast for its defense costs to date.




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    36.        Based upon the foregoing, Everlast is entitled to a declaration that State Farm must

reimburse Everlast for its defense costs in the Underlying Suit from the date of the letter sent to

State Farm on July 27, 2023, to the date of judgment in this declaratory judgment lawsuit.

    37.        A judicial declaration of this issue is necessary and appropriate at this time to permit

Everlast to determine State Farm’s legal obligations to Everlast.

                      AS AND FOR A THIRD CAUSE OF ACTION
     (Declaration of Duty to Pay Everlast’s Defense Costs from the Date of the Declaratory
         Judgment in this Action through the Final Resolution of the Underlying Suit)

    38.        Plaintiff repeats and re-alleges all of the allegations set forth in Paragraphs 1

through 37 of this Complaint for Declaratory Judgment as if set forth fully here.

    39.        There is an actual and present controversy between Everlast and State Farm

concerning State Farm’s obligations to pay Everlast’s defense attorney’s fees, costs, and

disbursement in the Underlying Suit until the final resolution of that lawsuit.

    40.         Based upon the foregoing, Everlast is entitled to a declaration that State Farm must

pay Everlast’s defense attorneys’ fees, costs, and disbursements in the Underlying Suit from the

date of judgment in this action through the final resolution of the Underlying Suit.

    41.        A judicial declaration of this issue is necessary and appropriate at this time to permit

Everlast to determine State Farm’s legal obligations to Everlast.

                      AS AND FOR A FOURTH CAUSE OF ACTION
                  (Declaration of Duty to Indemnify Under the Insurance Policy)

    42.        Plaintiff repeats and re-alleges all of the allegations set forth in Paragraphs 1

through 41 of this Complaint for Declaratory Judgment as if set forth fully here.

    43.        There is an actual and present controversy between Everlast and State Farm

concerning whether State Farm has an obligation under the Insurance Policy to indemnify Everlast

in the Underlying Suit.

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    44.        Pursuant to the Insurance Policy, State Farm must indemnify Everlast in the

Underlying Suit.

    45.        Based upon the foregoing, Everlast is entitled to a declaration that State Farm must

indemnify Everlast in the Underlying Suit under the Insurance Policy.

    46.        A judicial declaration of this issue is necessary and appropriate at this time to permit

Everlast to determine State Farm’s legal obligations to Everlast.

       WHEREFORE, Plaintiff respectfully requests that this Court issue a declaratory judgment

declaring the rights, duties, and obligations of the parties under the Insurance Policy with regard

to the claims in the Underlying Suit as follows:

       (a) On the First Cause of Action, a declaration that State Farm is obligated under the

           Insurance Policy to Defend Everlast in the Underlying Suit;

       (b) On the Second Cause of Action, a judgment in favor of Everlast ordering State Farm

           to reimburse all defense attorneys’ fees, costs, and disbursement that Everlast incurred

           in its defense in the Underlying Suit from the date of the letter sent to State Farm on

           July 27, 2023, to the date of judgment in this action;

       (c) On the Third Cause of Action, a declaration that State Farm must pay all defense

           attorneys’ fees, costs, and disbursement for defending Everlast in the Underlying Suit

           from the date of the declaration through the final resolution of the Underlying Suit;

       (d) On the Fourth Cause of Action, a declaration that State Farm must indemnify Everlast

           under the Insurance Police for any judgment in the Underlying Suit;

       (e) Interest, costs, and disbursements in connection with this action;

       (f) Costs of this action, including reasonable attorneys’ fees and expenses, expert’s fees
           and other disbursements; and

       (g) For such further and other relief as may be just, fair, and proper.

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Dated: New York, New York
       October 2, 2023
                                  WILSON & CHAN, LLP




                            By:
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